
The Court
decided that the acquittal upon the former indictment was not a bar to the present; being of opinion that the exception taken to the former indictment was fatal. See 1 Chitty, Cr. Law, 455.
The prisoner’s counsel also contended that the instrument forged was not an order within the English decisions upon the English Statute of 7 Geo. 2, c. 22; Mitchel's case, 2 East, Cr. Law, 936, and William's ease, and Eller's case, 1 Leach, Cr. Law.
But the Court said, that upon that point he might move in arrest of judgment if the prisoner should be convicted. See Bates's case, in this Court, June term, 1810, (ante, 1,) upon the Act of Maryland, 1799, c. 75, § 2, in which the Court decided that the words “ draft for the payment of money or delivery of goods,” included such an order as the present. Verdict, guilty.
Motion in arrest of judgment overruled.
